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                              UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                      )
                                              )
                v.                            ) No. 18-cr-10294-IT
                                              )
Jonathan MARTINEZ,                            )
                                              )
                Defendant.                    )

                                      INFORMATION

        Pursuant to Title 21, United States Code, Section 851, the United States files this

 Information giving notice that at the sentencing of defendant Jonathan Martinez, the United

 States will seek increased punishment by reason of any one of the following criminal

 convictions:

        Commonwealth of Massachusetts v. Jonathan Martinez, No. 1318CR001195 (Lawrence
        District Court). Distribution of a class A substance in violation of Massachusetts General
        Law, Chapter 94C, Section 32; Conviction Date: August 29, 2013.

        Commonwealth of Massachusetts v. Jonathan Martinez, No. 1118CR005874 (Lawrence
        District Court). Possession with intent to distribute a class A substance in violation of
        Massachusetts General Law, Chapter 94C, Section 32; Conviction Date: August 29,
        2013.

        Commonwealth of Massachusetts v. Jonathan Martinez, No. 1111CR003531 (Lowell
        District Court). Possession with intent to distribute a class A substance in violation of
        Massachusetts General Law, Chapter 94C, Section 32C; Conviction Date: October 16,
        2012.

                                              Respectfully submitted,

                                              ANDREW E. LELLING
                                              United States Attorney

                                      By:     /s/ Philip C. Cheng
                                              PHILIP C. CHENG
                                              Assistant United States Attorney

 Dated: August 31, 2018
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                                CERTIFICATE OF SERVICE

       I hereby certify that I caused a copy of this Information will be served through the
Electronic Case Files (ECF) system to all registered participants.


                                                     /s/ Philip C. Cheng
                                                     PHILIP C. CHENG
                                                     Assistant United States Attorney

Dated:   August 31, 2018
